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                          United States District Court
                                       CIVIL MINUTES - GENERAL


Case #    1:25cv16-MW-MJF                              Date    March 29, 2024

                            SHARON AUSTIN, et al. v. BRIAN LAMB, et al.
DOCKET ENTRY:          Preliminary Injunction Hearing Held 9:01 – 9:55 a.m.; 10:12 – 10:56 a.m.

Court hears argument regarding Plaintiff’s [22] Motion for Preliminary Injunction. Order to follow.

PRESENT: HONORABLE MARK E. WALKER, CHIEF UNITED STATES DISTRICT JUDGE

         Victoria Milton McGee              Megan Hague
              Deputy Clerk                  Court Reporter

Attorney(s) for Plaintiff(s):                 Attorney(s) for Defendant(s):
Jerry Edwards, Samantha Past,                 Hala Sandridge ((FIU, FSU & UF Board of Trustees)
Caelin Moriarity Miltko, Laura Sturgis,       Raymond Treadwell (Board of Governors)
Michelle Morton & Daniel Tilley



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PROCEEDINGS:           Preliminary Injunction Hearing Held

9:01     Court in session
         Court reviews record
9:03     Court addresses parties
9:06     Court hears argument re: Plaintiff’s [22] Motion for Preliminary Injunction
9:55     Court in recess


10:12 Court in session
      Court addresses parties
10:13 Argument continues
10:56 Court adjourned


                                                                    Initials of Clerk: VMM
